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05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )             Case No. CR01-0259-RSL-JPD
08               Plaintiff,               )
                                          )
09         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
10   EDWARD ALBERT THAVES,                )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
11               Defendant.               )
     ____________________________________ )
12

13          An evidentiary hearing on a petition for violation of supervised release in this case

14 was scheduled before the undersigned Magistrate Judge on June 16, 2006. The United States

15 was represented by Assistant United States Attorney Todd Greenberg, and the defendant by

16 Mr. Gilbert Levy. The proceedings were recorded on cassette tape.

17          The defendant had been charged with Possession/Passing Fictitious Obligations on or

18 about February 15, 2002, and sentenced by the Honorable Robert S. Lasnik to ten (10)

19 months in custody to be followed by five (5) years of supervised release.

20          The conditions of supervised release included the requirements that the defendant

21 comply with all local, state, and federal laws, and with the standard conditions. Special

22 conditions imposed included, but were not limited to, substance-abuse and mental-health

23 treatment programs; search and seizure; take all medications prescribed for bipolar disorder;

24 no new credit without approval by the Probation Officer; maintaining a single checking

25 account; disclosure and inspection of any software and computer equipment owned or

26 operated by defendant; employment approval by probation officer; not obtain or possess any

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01 driver’s license, social security number, birth certificate, passport, or any other form of

02 identification in any name other than the defendant’s true legal name without approval of the

03 probation officer; and financial disclosure.

04          On July 18, 2002, a violation report and warrant request was submitted for

05 defendant’s failure to notify the Probation Officer of his change in residence, in violation of

06 the conditions of his supervised release.

07          On September 10, 2002, defendant was arrested by the King County Sheriff’s

08 Department on a charge of Assault in the Third Degree, and subsequently convicted by a jury

09 and sentenced to seventeen (17) months in prison in the Washington State Department of

10 Corrections, to be followed by supervision of nine (9) to eighteen (18) months.

11          On October 9, 2003, defendant was released from state prison to the Clerk County

12 Superior Court in Vancouver, Washington, for probation violations of a 1999 conviction of

13 Assault in the Third Degree and Theft in the Third Degree. He was sentenced to thirty (30)

14 days in jail with credit for time served, and released on November 10, 2003.

15          On January 14, 2004, defendant was found to have violated the conditions of his

16 federal supervised release, by failing to notify the Probation Officer of his change in

17 residence, and, also, being convicted of Assault in the Third Degree. His supervised released

18 was revoked, and a sentence of eighteen (18) months in prison to be followed by forty-two

19 (42) months of supervised release was imposed by the Court. Defendant completed this term

20 of imprisonment and was released on February 28, 2005.

21          On July 11, 2005, defendant was found to have violated the terms of supervised

22 release by failing to report to the Probation Office and by using cocaine. Again, his

23 supervised release was revoked and a term of eight (8) months in prison, to be followed by

24 thirty-four (34) months of supervised release was imposed by the Court. Defendant was

25 released from the Federal Bureau of Prisons on January 13, 2006.

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01          On January 19, 2006, in a Violation Report and Request for Warrant or Summons,

02 U.S. Probation Officer Felix Calvillo, Jr. asserted the following violation by defendant of the

03 conditions of his supervised release:

04          Violation: Failing to report to the U.S. Probation Office within 72 hours of
            release on January 13, 2006, from the custody of the Federal Bureau of
05          Prisons, in violation of the general condition of his supervised release.

06          At the evidentiary revocation hearing held on June 16, 2006, defendant was advised

07 of his constitutional rights and admitted the alleged violation.

08          I therefore recommend that the Court find the defendant to have violated the terms

09 and conditions of his supervised release as to the alleged violation, and that the Court conduct

10 a hearing limited to disposition. A disposition hearing will be set before the Honorable

11 Robert S. Lasnik, on Wednesday, June 28, 2006, at 1:30 p.m.

12           Pending a final determination by the Court, the defendant has been detained.



                                                         A
13          DATED this 19th day of June, 2006.

14
                                                         JAMES P. DONOHUE
15                                                       United States Magistrate Judge
16

17 cc:      District Judge:                Honorable Robert S. Lasnik
            AUSA:                          Mr. Todd Greenberg
18          Defendant’s attorney:          Mr. Gilbert Levy
19          Probation officer:             Mr. Felix Calvillo, Jr.

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